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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF UTAH

 

TIMOTHY D., SUE D., and M.D.,

Plaintiffs, MEMORANDUM DECISION
AND ORDER
Vv.
Case No. 2:18CV753DAK
AETNA HEALTH AND LIFE
INSURANCE COMPANY, and KPMG Judge Dale A. Kimball

LLP MEDICAL BENEFITS PLAN,

Defendants.

 

 

This matter is before the court on Defendants’ Motion for Judgment on the Pleadings as
to Plaintiffs’ appeal from Defendants’ denial of benefits for treatment M.D. received at Aspiro
Wilderness Adventure Therapy and Dragonfly Transitions under the KPMG LLP Medical
Benefits Plan, an employee benefits plan governed by the Employee Retirement Income Security
Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seg. On May 16, 2019, the court held a hearing on
the motion. At the hearing, Plaintiffs were represented by Brian S. King and Nediha
Hadzikadunic, and Defendants were represented by Scott M. Petersen. The court took the matter
under advisement. Having fully considered the law and facts related to the motion, the court
enters the following Memorandum Decision and Order.

BACKGROUND
Plaintiff Timothy D. was an employee of KPMG LLP, which maintained a self-funded

employee welfare benefit plan (“Plan”) for its employees and eligible dependents. Plaintiff M.D.
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is Timothy’s child and is covered under the Plan. M.D. has dyslexia, attention
deficit/hyperactivity disorder, insomnia from phase delayed sleep syndrome, depression, and
substance abuse syndrome. M.D.’s mental health issues compounded in his senior year of high
school and his substance abuse issues began as he started college. He eventually stopped going
to classes and was living in his car.

M.D. received a variety of outpatient psychiatric therapy, but none proved effective at
treating his mental health symptoms and substance abuse. Plaintiffs enrolled M.D. ina
wilderness behavior program at Aspiro from February 29, 2016 to May 17, 2016. After M.D.’s
treatment at Aspiro, Plaintiffs enrolled him at Dragonfly, a transitional living facility, where he
received psychiatric care from May 18, 2016 to March 29, 2017.

Aetna denied coverage under the Plan for M.D.’s treatments at both of those facilities.
Aetna denied coverage for treatment at Aspiro because the Plan does not cover wildemess
treatment programs. Aetna denied coverage at Dragonfly on the basis that Dragonfly did not

meet the definition of a residential treatment facility or any type of other inpatient treatment that

 

is covered by the Plan.

The Plan “provides coverage for a wide range of medical expenses for the treatment of
illness or injury. It does not provide benefits for all medical care.” The Summary Plan
Description (“SPD”) states, “Your health plan pays benefits only for services and supplies
described in this Booklet as covered expenses that are medically necessary.”

The Plan also requires pre-certification for several types of medical expenses, including
stays in a residential treatment facility (“RTF”) for treatment of mental disorders, alcoholism, or

drug abuse treatment and partial hospitalization programs for mental disorders and substance
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abuse. The Plan covers inpatient treatment for mental disorders “in a hospital, psychiatric
hospital, or residential treatment facility.” “Inpatient benefits are payable only if [the] condition
requires services that are only available in an inpatient setting.”

The Plan specifically defines an RTF for treatment of mental disorders as an institution
that meets several requirements. As part of those requirements, the Plan states that an RTF “is
not a wilderness treatment program (whether or not the program is part of a licensed residential
treatment facility, or otherwise licensed institution), education services, schooling, or any such
related or similar program, including therapeutic programs within a school setting.” This same
exclusion for wilderness treatment programs is also listed in the Plan’s list of excluded types of
treatment. The Plan further specifically excludes “treatment in wilderness programs or other
similar programs” under the “Behavioral Health Services” category.

Plaintiffs’ Complaint alleges that Aspiro is a licensed outdoor behavioral health provider
in the State of Utah and provides treatment for adolescents with mental health conditions.
Plaintiffs’ Complaint does not allege that Aspiro is an RTF under Utah law. There is also no
allegation that Dragonfly is an RTF. Plaintiffs appear to acknowledge that Dragonfly is an
“antermediate transitional living program.”

Plaintiffs completed the appeals process with Aetna and then filed suit against Aetna in
this court, asserting a claim for benefits under the Plan for M.D.’s treatment at Aspiro and
Dragonfly and a claim for violation of the Mental Health Parity and Addiction Equity Act
(“Parity Act”) and the Affordable Care Act (“ACA”) for unequal coverage for mental health

benefits.
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DISCUSSION

In considering a motion for judgment on the pleadings, the court considers the Complaint
in its entirety as well as documents incorporated into the Complaint by reference, and matters of
which a court may take judicial notice. Tellabs, Inc. v. Makor Issues & Rights, LTD., 551 U.S.
308, 322 (2007). It then considers whether the allegations in the Complaint and information
from other permissible sources “plausibly suggest an entitlement to relief.” Aschroft v. Igbal,
556 U.S. 662, 681 (2009). Defendants argue that, even accepting the factual allegations of
Plaintiffs’ Complaint as true, this court should dismiss Plaintiffs’ claim for benefits covering
M.D.’s treatment at Aspiro and Dragonfly as a matter of law.

As an initial matter, Plaintiffs attached an Amended Complaint to their opposition to
Aetna’s motion. Defendants argue that it would be futile to allow Plaintiffs to amend. However,
the court disagrees. The case is relatively new, the allegations in the Amended Complaint
respond to and clarify some of the issues raised with respect to the Parity Act, and, as discussed
below, the claims as pleaded in the Amended Complaint survive a motion for judgment on the
pleadings. Plaintiff shall file their proposed Amended Complaint within ten days of the date of
this Order.

1. Coverage Claim

Defendants contend that M.D.’s treatment at Aspiro and Dragonfly are not covered under
the express terms of the Plan. When interpreting plan terms, “the court examines the plan
documents as a whole and, if they are unambiguous, construes them as a matter of law.” Admin.

Comm. of the Wal-Mart Assocs. Health & Welfare Plan v. Willard, 393 F.3d 1119, 1123 (10th

Cir. 2004).
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In this case, Defendants claim that the Plan plainly excludes coverage for treatment in
wilderness programs like Aspiro, even if it is part of an RTF. In Roy C. and Rachel C. v. Aetna
Life Ins. Co., No. 2:17CV1216DB, 2018 WL 4511972 (D. Utah Sept. 20, 2018), Judge Benson
dismissed the plaintiffs’ claim for care at a wilderness program under a similar Aetna plan.

But, contrary to Defendants’ contention, Plaintiffs assert that the Plan’s definition of an
RTF as a facility that is not a wilderness treatment program does not show that the Plan excludes
wilderness therapy in every instance. It only demonstrates that the Plan differentiates between
two types of sub-acute treatments. Plaintiffs point out that the Plan’s exclusion of wilderness
therapy is inconsistent with the Plan’s definition of “medically necessary” care. The Plan defines
“medically necessary” as services that a health care provider would give to a patient for the
purpose of evaluating or treating an illness, disease, or its symptoms. The Plan further states that
the provision of medically necessary care must be in accordance with generally accepted
standards of medical practice. Therefore, the Plan’s exclusion of wilderness therapy, an
intermediate sub-acute level of mental health care, may not be in accordance with generally
accepted standards of medical care because it prevents beneficiaries from receiving medically
necessary care. In addition, the Plan provides that covered expenses for treatment of mental
disorders “include charges made for the treatment of mental disorders by behavioral health
providers.” The Plan defines a behavioral health provider as “[a] licensed organization or
professional providing diagnostic, therapeutic, or psychological services for behavioral health
conditions.” M. received mental health treatment at Aspiro, a facility that meets the Plan’s
definition of a behavioral health provider. Aspiro is licensed by the Utah Department of Human

Services as an Outdoor Behavioral Health Program, and provides individual, family, and group
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therapy by integrating traditional forms of talk therapy with a more hands-on, experiential
approach.

Defendants also argue that the Plan does not provide coverage for treatment at Dragonfly,
which is a transitional living center. The Plan provides inpatient coverage for a stay in a hospital,
psychiatric hospital, or an RTF. The Plan does not provide coverage for a transitional living
program. But, as with Aspiro, Dragonfly is “a licensed and accredited” program that provides
psychiatric care through individual, group, and family therapy, and appears to qualify as a
behavioral health provider under the terms of the Plan. Dragonfly also appears to provide
medically necessary psychiatric treatment. Therefore, there is conflict between the Plan’s
provisions.

Defendants do not specifically address whether Aspiro and Dragonfly were behavioral
health providers under the Plan or whether the treatment was medically necessary. Rather, Aetna
focuses only on the titles of the facilities, not the substance of the treatment. Because the Plan’s
“RTF” definition may contradict the Plan’s “behavioral health provider” definition and the Plan’s
“medically necessary” definition, the court finds it cannot rule at this early stage of the litigation
that the Plan unambiguously precludes coverage. The court will revisit the issue at the summary
judgment stage.

2. Parity Act Claim

Defendants argue that the court should dismiss Plaintiffs’ Mental Health Parity and
Addiction Equity Act (Parity Act”) claim because there is no private right of action and the Parity
Act does not require coverage of wilderness treatment programs. The Parity Act requires parity in

the provision of insurance coverage for mental health and substance use disorders as compared to
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coverage for medical and surgical conditions in employer-sponsored group health plans. 29
U.S.C. § 1185a(3)(A). The Parity Act requires that treatment limitations applicable to mental
health benefits be “no more restrictive than the predominant treatment limitations applied to
substantially all medical and surgical benefits.” Joseph F. v. Sinclair Servs. Co., 158 F. Supp. 3d
1239, 1261 (D. Utah 2016).

Defendants’ argument that there is no private right of action under the Parity Act is in
direct contradiction with ERISA’s remedial framework. The Parity Act was enacted by Congress
to end discrimination in how ERISA plans provide health benefits for treatment of mental health
and substance abuse relative to benefits for medical and surgical conditions. To suggest that
Plaintiffs have no private cause of action under the Parity Act is to ignore the Act’s very purpose.
The only case Aetna relies on for the proposition that there is no private cause of action for a
Parity Act claim has no precedential value and involves individual insurance, not a group policy
governed by ERISA. Mills v. Bluecross Blueshield of Tenn., Inc., No. 3:15-cv-552-PLR-HBG,
2017 WL 78488 (E.D. Tenn. Jan. 9, 2017). Absent a case from the Tenth Circuit or the United
States Supreme Court stating that there is no private right of action under the Parity Act in an
ERISA case, this court will recognize a private right of action in such cases.

To survive the dismissal of a Parity Act claim, a plaintiff must allege a medical or
surgical analogue that the plan treats differently than the disputed mental health or substance
abuse services. Welp v. Cigna Health & Life Ins. Co., 2017 WL 3263138, at *5 (S.D. Fla. July
20, 2017). In Melissa P. v. Aetna Life Ins., this court held that to state a plausible claim “a
plaintiff need only plead as much of her prima facie case as possible based on the information in

her possession,” explaining that the plausibility standard requires “at least some relevant
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information to make the claims plausible on their face.” Case No. 2:18CV216-RJS-EJF, 2018
WL 6788521, at *7.

In this case, Paragraph 52 of Plaintiffs’ Complaint states: “Aetna’s exclusion of coverage
for the type of sub-acute, intermediate mental health care M. received at Aspiro and Dragonfly
imposes a treatment limitation on mental health and substance use benefits making them more
restrictive in comparison to the treatment limitations the Plan imposes on medical/surgical
benefits.” Paragraph 54 of the Complaint states: “Comparable benefits offered by the Plan for
medical/surgical treatment analogous to the benefits the Plan excluded for M.’s treatment include
sub-acute inpatient treatment settings such as skilled nursing facilities, inpatient hospice care,
and rehabilitation facilities. For none of these types of treatment does Aetna exclude or restrict
coverage of medical/surgical conditions based on medical necessity, geographic location, facility
type, provider specialty, or other criteria in the manner Aetna excluded coverage of treatment for
M. at Aspiro and Dragonfly.”

At this stage, the court assumes all allegations are true and all factual inferences are
interpreted in Plaintiffs’ favor. Under such review, the court concludes that Plaintiffs’ Second
Cause of Action states a plausible cause of action under the Parity Act because the Plan appears
to impose more restrictive treatment limitations on mental health and substance abuse benefits
than it does on medical/surgical benefits. Plaintiffs’ allegations that skilled nursing facilities,
inpatient hospice care, and rehabilitation facilities are analogous to levels of care for which Aetna
excluded benefits to M.D. for mental health treatment are sufficient. The claim does not rest on
formulaic recitations of the elements. Aetna denied benefits to M.D. by excluding the sub-acute,

intermediate level of mental health care he received at Aspiro and Dragonfly. Plaintiffs allege
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comparable benefits on the medical/surgical side that would provide benefits for the treatments at
Aspiro and Dragonfly. Thus, as alleged, the mental health benefits are more restrictive.

The nature of Parity Act claims is that they generally require further discovery to evaluate
whether there is a disparity between the availability of treatments for mental health and substance
abuse disorders and treatment for medical/surgical conditions. Discovery will show whether
Aetna improperly limited mental health benefits under the Plan.

CONCLUSION

Based on the above reasoning, the court allows Plaintiffs’ to file the proposed Amended
Complaint attached to its opposition and denies Aetna’s Motion for Judgment on the Pleadings
[Docket No. 11]. Plaintiffs shall file their Amended Complaint within ten days of the date of this
Order.

DATED this 14th day of June, 2019.

BY THE COURT:

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Dale A. Kimball, *
United States District Judge
